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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                  4:05CR3029
                                    )
          v.                        )
                                    )
MICHAEL J. CURRY,                   )                     ORDER
                                    )
                Defendant.          )
                                    )


     The Court has been advised that the defendant requests
permission to enter a plea of guilty.

     IT IS ORDERED:

     1.   This case is removed from the trial docket based upon
          the request of the defendant.

     2.   A hearing on the defendant’s anticipated plea of guilty
          is scheduled before the undersigned on October 11, 2005
          at 10:00 a.m. in Courtroom No. 2, United States
          Courthouse and Federal Building, 100 Centennial Mall,
          North, Lincoln, Nebraska.

     3.   On or before the date set for the plea proceeding,
          counsel for plaintiff and for defendant shall provide
          to the assigned probation officer their respective
          versions of the offense for purposes of preparing the
          presentence investigation report.

     4.   For this defendant, the time between today’s date and
          the hearing on the anticipated plea of guilty is
          excluded for purposes of computing the limits under the
          Speedy Trial Act. See 18 U.S.C. sec.
          3161(h)(1)(I)&(h)(8)(A)(B).

     DATED this 4th day of October, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
